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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

AMAZON WEB SERVICES, INC.,                          )
                                                    )
                 Plaintiff,                         )
                                                    )
                 v.                                 )             No. 19-1796C
                                                    )    (Judge Patricia E. Campbell-Smith)
THE UNITED STATES,                                  )
                                                    )
                 Defendant,                         )
                                                    )
and                                                 )
                                                    )
MICROSOFT CORPORATION,                              )
                                                    )
                 Defendant-Intervenor.              )

                          DEFENDANT’S UNOPPOSED
             MOTION TO APPOINT AN INFORMATION SECURITY OFFICER

          Pursuant to the Court’s order dated December 31, 2019, and because the administrative

record in the above-captioned case will contain a small amount of confidential information that

has been classified at the Secret level, the United States respectfully requests that this Court

appoint a Classified Information Security Officer and Alternate Classified Information Security

Officers, as set forth herein, to assist the Court and parties with the handling and storage of

classified information. We have discussed this matter with counsel for plaintiff, Amazon Web

Services, Inc., and counsel for intervenor, Microsoft Corporation. Counsel for plaintiff and

intervenor have indicated that both parties consent to this motion and the officers designated

herein.

          First, we respectfully request that this Court appoint Harry J. Rucker as Classified

Information Security Officer in the case. Mr. Rucker is a Litigation Security Specialist with the

U.S. Department of Justice, Litigation Security Group. Second, we respectfully request that the

following individuals with the U.S. Department of Justice, Litigation Security Group be
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designated as Alternate Classified Information Security Officers, to serve in the event

Mr. Rucker is unavailable: Debra M. Guerrero-Randall, Matthew W. Mullery III, Daniel

O. Hartenstine, Maura P. Peterson, Carli V. Rodriguez-Feo, and W. Scooter Slade. These

individuals will facilitate the filing of classified material with the Court, assist the Court with the

handling and protection of such material, and protect such information, as otherwise required by

law.

       Accordingly, we respectfully request that the Court grant our motion.



                                                        Respectfully submitted,

                                                        JOSEPH H. HUNT
                                                        Assistant Attorney General

                                                        ROBERT E. KIRSCHMAN, JR.
                                                        Director

                                                        s/ Patricia M. McCarthy
                                                        PATRICIA M. MCCARTHY
OF COUNSEL:                                             Assistant Director

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January 2, 2020                                         Attorneys for Defendant




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